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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION


MISSISSIPPI STATE CONFERENCE OF THE
NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE;
DR. ANDREA WESLEY; DR. JOSEPH
WESLEY; ROBERT EVANS; GARY
FREDERICKS; PAMELA HAMNER;
BARBARA FINN; OTHO BARNES;
SHIRLINDA ROBERTSON; SANDRA
SMITH; DEBORAH HULITT; RODESTA
TUMBLIN; DR. KIA JONES;
MARCELEAN ARRINGTON;
VICTORIA ROBERTSON                                                                  PLAINTIFFS

VS.                                          CIVIL ACTION NO. 3:22-cv-734-DPJ-HSO-LHS

STATE BOARD OF ELECTION
COMMISSIONERS; TATE REEVES, in his
official capacity as Governor of Mississippi;
LYNN FITCH, in her official capacity as
Attorney General of Mississippi; MICHAEL
WATSON, in his official capacity as Secretary
of State of Mississippi                                                           DEFENDANTS

AND

MISSISSIPPI REPUBLICAN EXECUTIVE
COMMITTEE                                                        INTERVENOR DEFENDANT


                                     NOTICE OF APPEAL


       Defendants State Board of Election Commissioners, Tate Reeves, in his official capacity

as Governor of Mississippi, Lynn Fitch, in her official capacity as Attorney General of Mississippi,

and Michael Watson, in his official capacity as Secretary of State of Mississippi, hereby appeal to

the United States Supreme Court from the entirety of the Final Judgment [ECF #263] entered on




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May 7, 2025, in the above-styled and numbered cause. This appeal is taken pursuant to 28 U.S.C.

§ 1253 within the time for appeal permitted by 28 U.S.C. § 2101(b).

       THIS the 3rd day of July, 2025.

                                            Respectfully submitted,

                                            STATE BOARD OF ELECTION
                                            COMMISSIONERS, TATE REEVES, IN HIS
                                            OFFICIAL CAPACITY AS GOVERNOR OF
                                            MISSISSIPPI, LYNN FITCH, IN HER OFFICIAL
                                            CAPACITY AS ATTORNEY GENERAL OF
                                            MISSISSIPPI, AND MICHAEL WATSON, IN HIS
                                            OFFICIAL CAPACITY AS SECRETARY OF
                                            STATE OF MISSISSIPPI, DEFENDANTS

                                            By:    LYNN FITCH, ATTORNEY GENERAL
                                                   STATE OF MISSISSIPPI

                                            By:    s/Rex M. Shannon III
                                                   REX M. SHANNON III (MB #102974)
                                                   Special Assistant Attorney General

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                                 ATTORNEYS FOR DEFENDANTS STATE
                                 BOARD OF ELECTION COMMISSIONERS,
                                 TATE REEVES, IN HIS OFFICIAL CAPACITY
                                 AS GOVERNOR OF MISSISSIPPI, LYNN
                                 FITCH, IN HER OFFICIAL CAPACITY AS
                                 ATTORNEY GENERAL OF MISSISSIPPI, AND
                                 MICHAEL WATSON, IN HIS OFFICIAL
                                 CAPACITY AS SECRETARY OF STATE OF
                                 MISSISSIPPI




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                                 CERTIFICATE OF SERVICE

        I, Rex M. Shannon III, Special Assistant Attorney General and one of the attorneys for the
above-named defendants, do hereby certify that I have this date caused to be filed with the Clerk
of the Court a true and correct copy of the above and foregoing via the Court’s ECF filing system,
which sent notification of such filing to all counsel of record, and that I have this date caused to
be served, via electronic mail, a true and correct copy of the above and foregoing to all counsel of
record.

       I further certify that I have this date caused to be served, via first-class United States Mail,
postage prepaid, a true and correct copy of the above and foregoing to the following:

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       New York, New York 10004
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       ATTORNEYS FOR PLAINTIFFS

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       ATTORNEYS FOR INTERVENOR DEFENDANT MISSISSIPPI REPUBLICAN
       EXECUTIVE COMMITTEE

       THIS the 3rd day of July, 2025.

                                                               s/Rex M. Shannon III
                                                               REX M. SHANNON III




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